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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

DENISE DIAZ, ECF
Plaintiff, 13-CV 8281 (PAC)
-against-
DE ATI

THE CITY OF THE NEW YORK, NEW YORK COUNTY
DISTRICT ATTORNEYS OFFICE, THE NEW YORK
CITY POLICE DEPARTMENT, RAYMOND W. KELLY,
individually and in his capacity as the former Commissioner of
the New York City Police Department, JOSE FLORES,
individually and in his official capacity as Investigator for the
New York County District Attorney’s office, JOHN DOE
1,individaully and in his official capacity as Captain in the
NYPD, and JOHN DOE 2, individually and in his official
capacity as an Officer in the NYPD or the New York City
District Attorney's Office,

Defendants,

 

 

MAUREEN T. O’CONNOR declares pursuant to 28 U.S.C. 1746:

1. I am an Assistant District Attorney in the Office of Cyrus R. Vance, Jr,
District Attorney of the County of New York attorney for defendant JOSE FLORES and
the New York County District Attorney’s Office. (DANY Defendants”). I submit this
declaration in support of the DANY defendant’s Motion to Dismiss Plaintiffs Amended
complaint and to provide the Court with copies of documents in support of that motion.

2. Annexed hereto as Exhibit A, please find a copy of New York County search
warrant and affidavit in support of warrant, Numbered 927/10.

3. Annexed hereto as Exhibit B, A date stamped copy of front of summons and
amended complaint, dated received by the New York County District Attorney’s Office May

1, 2014.
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4, Annexed hereto as Exhibit C, the Certificate of Disposition Indictment No.

2922/11, Pe

 

Dated: New York, New York
May 12, 2014

CYRUS R. VANCE, JR.

District Attorney, New York County

as Special Assistant Corporation Counsel
One Hogan Place

New York, New York 10013

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Maureen T’. O’Connor (MOQO9099)
Assistant Disttict Attorney
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